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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

______________________________________________________________________________

DBW PARTNERS, LLC                                    :
d/b/a THE CAPITOL FORUM,                             :
                                                     :
                                                     :
                      Plaintiff,                     :       Civil Action 1-22-01333-BAH
                                                     :
               v.                                    :
                                                     :
                                                     :
MARKET SECURITIES, L.L.C.                            :
                                                     :
                                                     :
                                                     :
                      Defendant.                     :


                                      PRAECIPE

       The undersigned counsel file this Praecipe to advise the Court of their agreement

regarding Plaintiff DBW Partners, LLC d/b/a The Capitol Forum’s (“Plaintiff” or “DBW”) filing

of a second amended complaint in this action.

       There is presently pending a motion to amend the complaint, filed by Plaintiff on June

16, 2023. Dkt. No. 25. Since the filing of that motion to amend, Plaintiff has become aware of

further amendments to the complaint that it wishes to make based on discovery that has occurred

to date, including additional allegations of direct infringement against Defendant Market

Securities, LLC (“Defendant” or “Market Securities”) and a claim against an additional party,

BTG Pactual. While Market Securities disputes that such amendments have merit, the parties

have agreed that a superseding amendment to the complaint would streamline this action. The

parties agree that Plaintiff shall file its second amended complaint within 10 days of the Court’s
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order on this Praecipe. The parties agree that the superseding second amended complaint should

be lodged.

       The parties therefore respectfully request that the Court refrain from ruling on the

pending motion to amend and accept the forthcoming amended complaint. This course of action

will permit the Defendant to address all Fed. R. Civ. P. 12(b)(6) issues in a single filing.

       In the interim, discovery is continuing, although the parties may request an extension of

the present discovery deadlines in view of the allegations raised in the forthcoming amendment.



DATED: August 30, 2023

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                            AND


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